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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                     :
 KELPHALA SESSAY,                                    :          CIVIL ACTION
                                                     :
                Plaintiff,                           :
                                                     :
                         v.                          :          No. 17-cv-3219
                                                     :
 PEOPLES COMMERCE, INC., ET AL.,                     :
                                                     :
                Defendants.                          :
                                                     :

                                             ORDER

       AND NOW, this 4th day of March, 2019, I note the following:

           1. On February 13, 2019, I issued an Order, wherein I granted Plaintiff’s Motion for

               Summary Judgment as to the FCEUA claim, Pennsylvania UCC claim, and battery

               claim, but denied Plaintiff’s Motion as to Defendant Peoples Commerce, Inc.’s

               Counterclaim (ECF No. 23);

           2. My February 13, 2019 Order also required Defendant Peoples Commerce, Inc. to

               file a status letter on or before February 25, 2019, advising the Court whether it

               intends to pursue its breach of contract counterclaim; and

           3. Defendant Peoples Commerce, Inc. has failed to comply with my February 13, 2019

               Order;

       WHEREFORE, it is hereby ORDERED that Defendant Peoples Commerce, Inc. shall

file a status letter on or before March 25, 2019, advising the Court whether it intends to pursue

its breach of contract counterclaim. Failure to comply with this Order could result in the

consideration of sanctions, including, but not limited to, dismissal of its Counterclaim.




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                                   BY THE COURT:



                                   /s/ Mitchell S. Goldberg

                                   MITCHELL S. GOLDBERG, J.




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